AO 450 (Rev. 5/85) Judgment in a Civil Case   r




                                              United States District Court
                                                  WESTERN DISTRICT OF WASHINGTON



            PABLO ANTONIO CARBO CISNEROS
                                                                          JUDGMENT IN A CIVIL CASE
                                      v.

            STATE OF WASHINGTON
                                                                          CASE NUMBER: C-09-5160RBL-KLS


            Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
            and the jury has rendered its verdict.

 X          Decision by Court. This action came to trial or hearing before the Court. The issues have been
            tried or heard and a decision has been rendered.
   IT IS ORDERED AND ADJUDGED


            1.           The Court adopts the Report and Recommendation;

            2.           This action is DISMISSED without prejudice prior to service for failure to state a claim.
                         This dismissal counts as a strike pursuant to 28 U.S.C. § 1915(g).




                 June 9, 2009                                               BRUCE RIFKIN
                                                                               Clerk


                                                              ___________/s/ Jennie L. Patton_________
                                                                         Deputy Clerk
